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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION



 UNITED STATES OF AMERICA

 v.                                                 Case No. 8:03-cr-281-T-23EAJ
                                                             8:05-cv-2112-T-23EAJ
 ABEL QUINONES OROBIO
                                               /


                                          ORDER

        Orobio stands convicted pursuant to a plea agreement (Doc. 93) of conspiracy to

 distribute cocaine while aboard a vessel, for which offense he is serving a sentence of

 97 months. The sentence was imposed on February 4, 2004 (Doc. 183), and Orobio’s

 direct appeal was dismissed (Doc. 301) based on a valid appeal waiver in the plea

 agreement. Orobio challenges the validity of his sentence in a motion to vacate

 sentence pursuant to 28 U.S.C. § 2255 and alleges that his counsel was ineffective on

 appeal for not requesting the appellate court to hold the appeal in abeyance pending the

 decision in United States v. Booker, ___ U.S. ___, 125 S. Ct. 738 (2005).

        A motion to vacate must be reviewed prior to service on the Government. See

 Rule 4 of the Rules Governing § 2255 Cases. If the “motion and the files and records of

 the case conclusively show that the prisoner is entitled to no relief,” the motion is

 properly denied without a response from the Government. 28 U.S.C. § 2255. See also

 United States v. Deal, 678 F.2d 1062, 1065 (11th Cir. 1982) (a “§ 2255 hearing is not

 required if ‘the motion and the files and records of the case conclusively show that the

 prisoner is entitled to no relief’”) (citation omitted); Wright v. United States, 624 F.2d
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 557, 558 (5th Cir. 1980)1 (affirming district court’s summary dismissal of § 2255 motion

 “[b]ecause in this case the record, uncontradicted by [defendant], shows that he is not

 entitled to relief.”); Hart v. United States, 565 F.2d 360, 361 (5th Cir. 1978) (“Rule 4(b)

 of § 2255 allows the district court to summarily dismiss the motion and notify the movant

 if ‘it plainly appears from the face of the motion and any annexed exhibits and the prior

 proceedings in the case that the movant is not entitled to relief.’”). Orobio’ motion is

 without merit.

         Orobio cannot fault counsel for failing to request the appellate court to hold the

 appeal in abeyance until Booker was decided because Orobio waived any right to

 appeal as part of the plea agreement. In fact, the direct appeal was dismissed

 specifically based on the appellate waiver: “Appellee’s motion to dismiss this appeal

 due to a valid appeal waiver contained in Appellant’s plea agreement is GRANTED.”

 Order (Doc. 301) (emphasis original).

         Additionally, Orobio cannot assert a direct challenge to his sentence based on

 Booker because that decision does not apply retroactively to cases on collateral review.

 See In re Dean, 375 F.3d 1287, 1290 (11th Cir. 2004) (“Because Blakely, like Ring [v.

 Arizona, 536 U.S. 584 (2002)], is based on an extension of Apprendi [v. New Jersey,

 530 U.S. 466 (2000)], Dean cannot show that the Supreme Court has made that

 decision retroactive to cases already final on direct review.”), and In re Anderson, 396

 F.3d 1336, 1339 (11th Cir. 2005) (“Regardless of whether Booker established a ‘new


          1
              Fifth Circuit decisions handed down prior to October 1, 1981, are binding precedent upon
  this Court. Bonner v. City of Pritchard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc).

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 rule of constitutional law’ within the meaning of §§ 2244(b)(2)(A) and 2255, the

 Supreme Court has not expressly declared Booker to be retroactive to cases on

 collateral review.”).

           Accordingly, the motion to vacate sentence pursuant to 28 U.S.C. § 2255

 (Doc. 1) is DENIED. The clerk shall enter a judgment against Orobio and close this

 action.

           ORDERED in Tampa, Florida, on December 1, 2005.




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